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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


ST ENGINEERING MARINE, LTD                     )
                                               )
                        Plaintiff              )
                                               )
        v.                                     ) Civil Action No. __________
                                               )
THOMPSON, MacCOLL & BASS, LLC,                 )
                                               )
                        Defendant.             )


                                          COMPLAINT
        Plaintiff ST Engineering Marine, Ltd, through its undersigned counsel, complains against

Defendant Thompson, MacColl & Bass, LLC as follows:

        1.      Plaintiff, ST Engineering Marine Ltd (“STEM”) formerly known as Singapore

Technologies Maritime Ltd., is a business entity organized and existing under the laws of

Singapore. At all relevant times to the allegations of this Complaint, STEM’s principal place of

business has been located at 16 Benoi Road, Singapore 629889.

        2.      Defendant, Thompson, MacColl & Bass, LLC (“Thompson MacColl”) is a Maine

limited liability company engaged in the practice of law in the State of Maine, and with the

principal place of business in the City of Portland, Maine.

                                          JURISDICTION

        3.      This Court has jurisdiction of this matter pursuant to Title 28 § 1332(a)(2), as the

matter in controversy exceeds the sum of $75,000 and the controversy is between a citizen of a

State and a citizen of a foreign state.
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       4.      At all times pertinent to the allegations of this Complaint, attorneys John Bass and

Edward MacColl were members and employees of Thompson MacColl, and, acting in the course

and scope of their employment with the firm.

       5.      At all times pertinent to the allegations of this Complaint, STEM was the

registered owner of an ocean-going vessel known as “M/V Nova Star” and had bareboat

chartered the M/V Nova Star to a company named Nova Star Cruises Ltd (“NSCL”) to provide

ferry service between Yarmouth, Nova Scotia and Portland, Maine.

       6.      At all times pertinent to the allegations of this Complaint, a company known as

Fleet Pro was acting as NSCL’s agent with respect to certain aspects of the M/V Nova Star,

including, but not limited to, the procurement of fuel for the M/V Nova Star.

       7.      On or about June 2015, Fleet Pro contracted with Bunkers International

Corporation to provide fuel to the M/V Nova Star.

       8.      Bunker International Corporation in turn subcontracted with Sprague Operating

Resources LLC (“Sprague”) to provide fuel to the M/V Nova Star. It was Sprague that

physically supplied the fuel (“Fuel”) to the M/V Nova Star.

       9.      NSCL paid Fleet Pro in full for the Fuel and Fleet Pro paid Bunkers International

Corporation for the Fuel.

       10.     However, Bunkers International Corporation did not pay Sprague for the Fuel and

subsequently commenced a Chapter 11 proceeding in the United States Bankruptcy Court.

       11.     Sprague commenced maritime in rem proceedings to recover the amounts owed to

it for the Fuel and in November 2015 arrested the M/V Nova Star in Portland, Maine (the

“Sprague Arrest”), alleging that it had a maritime lien on the vessel pursuant to the Federal




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Maritime Lien and Commercial Instruments Act. Following the arrest, STEM terminated the

BIMCO Bareboat Charter Agreement.

        12.     A maritime lien is necessary pursuant to the maritime law of the United States to

effectuate the in rem arrest of a ship.

        13.     Other suppliers of goods and services to the vessel also arrested the M/V Nova

Star, alleging that they had maritime liens for the goods and services they had provided.

        14.     Thompson MacColl was retained to represent STEM and the M/V Nova Star in

connection with all claims and arrests, including the Sprague Arrest.

        15.     On or about November 2015, Thompson MacColl advised STEM that Sprague

had a maritime lien on the M/V Nova Star and that the only way to extinguish the maritime lien

was for STEM to pay Sprague for the Fuel.

        16.     In reliance on Thompson MacColl’s advice, STEM remitted payment to Sprague

and the M/V Nova Star was released from arrest.

        17.     At the time Thompson MacColl gave their advice, the law in the United States

regarding maritime liens by suppliers of maritime law was unsettled, and it was unclear whether

the physical supplier of the Fuel or the contracting supplier of the Fuel was entitled to a maritime

lien against the M/V Nova Star.

        18.     Approximately one year before Thompson MacColl gave their advice, questions

began to arise as to whether the physical supplier or the contract supplier were entitled to assert a

maritime lien and this question was the subject of numerous articles in the maritime press and on

the Internet.

        19.     During the year prior to Thompson MacColl providing advice to STEM,

numerous court cases were filed in various federal district courts, including over 20 cases in the



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Southern District of New York alone. These cases involved the question of whether the physical

supplier or the contract supplier of fuel had a maritime lien and whether an interpleader action

was the proper procedural action to resolve such disputes.

       20.     During the one-year prior to Thompson MacColl providing its advice to STEM,

maritime lawyers faced with arrests by fuel supplier routinely advised their clients to avoid

paying either the physical supplier or the contract supplier until the question of who held the

maritime lien for the fuel supply was resolved, either by providing security for the claim to

obtain a release of the vessel from arrest and contesting the lien or by commencing an

interpleader action.

                                            COUNT I
                                          NEGLIGENCE

       21.     Plaintiff repeats and realleges the allegations of paragraphs 1 - 20 of the

Complaint as if fully set forth herein.

       22.     An attorney-client relationship existed between STEM and Thompson MacColl.

       23.     Thompson MacColl owed a duty of care to appropriately advise STEM as to the

then-current state of the law with respect to maritime fuel liens.

       24.     At the time Thompson MacColl gave its advice to STEM, it failed to advise

STEM that the law relating to maritime fuel liens was unsettled or that Sprague may not have a

lien, nor did they recommend that this question be investigated further.

       25.     The applicable standard of care for a maritime practitioner advising a shipowner

whose vessel had been arrested by a physical fuel supplier required that the shipowner be

advised the law was unsettled as to whether the physical supplier or the contract supplier had a

maritime lien and to advise the client that rather than pay either the physical supplier or the

contract supplier, the client had other options such as posting security and contesting the lien.

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       26.      Thompson MacColl breached the applicable standard of care and was negligent,

which negligence included:

       (a)     failing to advise STEM that the law relating to maritime liens by fuel suppliers

       was unsettled generally and in a state of transition;

       (b)      failing to advise STEM that there was no controlling decision in the District of

       Maine on the issue;

       (c)     failing to advise STEM of the possibility of providing security to obtain release of

       the M/V Nova Star while contesting whether Sprague had a maritime lien;

       (d)      failing to advise STEM or recommend to STEM, that further investigation should

       be undertaken to determine whether Sprague had a maritime lien; and

       (e)     failing to advise STEM that based on developments in the law there were

       arguments that could be made that if successful would defeat the maritime lien.

       27.      As a direct and proximate result of Thompson MacColl’s negligence, STEM has

been damaged.

       WHEREFORE, Plaintiff prays for damages according to proof, for its costs of suit

incurred herein and for such other and further relief as is appropriate in the circumstances.


Dated: September 15, 2020                             /s/ Lee H. Bals
                                                      Lee H. Bals, Bar No. 3412

                                                      Attorney for Plaintiff STEM

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